     

UNITED STATES DISTRICT COUR§'£DHYW_

Western District of Tennessee
05 ?€AY 21+ BH 6= 38

UNITED STATES OF AMERICA

  

 

HUwow .; 5 zhmu
Plaintiff, CLERH` Ld.UEFXCT
W.U OF?H`M§MPHE
VS. Case Number 2:92CR20332-Ol-Ml

2:93CR2018l-01-M1

 

DERRICK MEANS
Defendant.

*A-M-E-N-D-E-D JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November 1, 1987)

The defendant, Derrick Means, was represented by Mary Catherine Jermann, Esq.

lt appearing the defendant, who was sentenced in the above styled cause and was
placed on Supervised Release for a period of three (3)r has violated the terms of
Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be *imprisoned for a term of twenty-four (24) months as to case
2:92CR20332-01-M1 and twenty~four (24) months as to case 2:93CR20181-01-Ml. Both cases
are to be served concurrently with each other for a total term of incarceration of
twenty-four (24) months. No further supervision is imposed.

The defendant is remanded to the custody of the United States Marshal.

Signed this the 578:5 day of May, 2005.

m Oi@

PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

  

 

JO

   

Defendant's SS No.: XXX-XX-XXXX

Defendant's Date of Birth: 05/05/1960

U.S. Marshal No.: 13717-076

Defendant's Mailin Address: 4814 Newton Drive Mem his TN 38109

 

This document entered on the dockets set in com Ha
mmmm%ammwamsmwm §13£€§ we

 

     

UNITED sTATESDISTRIC COURT - WESTER DI'S'TRICT oF ENNESSEE

thice of Distribution

This notice confirms a copy of the document docketed as number 112 in
case 2:93-CR-20181 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

1\/lemphis7 TN 38103

Cam ToWers J ones

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

